             Case 4:17-cv-03806-CW Document 82-4 Filed 07/10/18 Page 1 of 8




     Anthony I. Paronich
 1
     Email: anthony@broderick-law.com
 2   BRODERICK & PARONICH, P.C.
     99 High Street, Suite 304
 3
     Boston, Massachusetts 02110
 4   Telephone: (508) 221-1510
     Facsimile: (617) 830-0327
 5
     Attorney for Plaintiff and the Proposed Class
 6
 7
 8                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
10   DR. TIMOTHY COLLINS and SIDNEY
     NAIMAN, individually and on behalf of all            Case No. 4:17-cv-03806-CW
11   others similarly situated,
                                                          DECLARATION OF ANTHONY I.
12                                                        PARONICH IN SUPPORT OF
                           Plaintiff,
13                                                        PLAINTIFF’S MOTION FOR
            v.                                            CLASS CERTIFICATION
14
     TOTAL MERCHANT SERVICES, INC.,
15   QUALITY MERCHANT SERVICES, INC.,                     JURY TRIAL DEMAND
16   MICHAEL ALIMENTO and BOBBY
     POWERS                                               Complaint Filed: July 5, 2017
17                  Defendants.
                                                          DATE:             August 14, 2018
18
                                                          TIME:             2:30 p.m.
19
                                                          LOCATION:         1301 Clay St.,
20                                                                          Oakland, CA 94612

21
22          I, Anthony I. Paronich, declare as follows:
23          I am a partner at the law firm of Broderick and Paronich, P.C., co-counsel of record for
24   Plaintiff in this matter. I am admitted to practice before this Court pro hac vice and am a
25   member in good standing of the bar in the Commonwealth of Massachusetts. I respectfully
26   submit this declaration in support of Plaintiff’s Motion for Class Certification. Except as
27
28
                                                -1-
                  DECL. ANTHONY I. PARONICH SUPP. PL.’S MOT. CLASS CERTIFICATION
                  Naiman v. Total Merchant Servs., Inc., Case No. 4:17-cv-03806-CW
              Case 4:17-cv-03806-CW Document 82-4 Filed 07/10/18 Page 2 of 8




 1   otherwise noted, I have personal knowledge of the facts set forth in this declaration and could
 2   testify competently to them if called upon to do so.
 3          1.      Attached hereto as Exhibit 1 is a true and correct copy of a document executed
 4   between Total Merchant Services and Quality Merchant Services that was produced by in this
 5   matter under the Bates Nos. TMS000528-TMS000530, which corresponds to Brian Alimento
 6   Depo. Tr., Ex. 5. This exhibit has been designated “Confidential.” Plaintiffs are therefore filing it
 7   under seal in compliance with the Stipulated Protective Order (Dkt. No. 40).
 8          2.      Attached hereto as Exhibit 2 is a true and correct copy of a document between
 9   Total Merchant Services and Quality Merchant Services that was produced by in this matter
10   under the Bates Nos. QMS000688-QMS000697, which corresponds to Brian Alimento Depo.
11   Tr., Ex. 6. This exhibit has been designated “Confidential.” Plaintiffs are therefore filing it under
12   seal in compliance with the Stipulated Protective Order (Dkt. No. 40).
13          3.      Attached hereto as Exhibit 3 is a true and correct copy of an e-mail produced by
14   Quality Merchant Services under the Bates Nos. QMS008131-QMS008133, which corresponds
15   to Brian Alimento Depo. Tr., Ex. 7. This exhibit has been designated “Confidential.” Plaintiffs
16   are therefore filing it under seal in compliance with the Stipulated Protective Order (Dkt. No.
17   40).
18          4.      Attached hereto as Exhibit 4 is a true and correct copy of the Sales
19   Representation Agreement between Total Merchant Services and Quality Merchant Services that
20   was produced by in this matter under the Bates Nos. TMS000018-TMS000039, which
21   corresponds to Brian Alimento Depo. Tr., Ex. 14. This exhibit has been designated
22   “Confidential.” Plaintiffs are therefore filing it under seal in compliance with the Stipulated
23   Protective Order (Dkt. No. 40).
24          5.      Attached hereto as Exhibit 5 is a true and correct copy of a complaint to Quality
25   Merchant Services from a government authority about telemarketing. It was produced in this
26   matter under the Bates No. QMS000726. This exhibit has been designated “Confidential.”
27
28
                                                 -2-
                   DECL. ANTHONY I. PARONICH SUPP. PL.’S MOT. CLASS CERTIFICATION
                   Naiman v. Total Merchant Servs., Inc., Case No. 4:17-cv-03806-CW
              Case 4:17-cv-03806-CW Document 82-4 Filed 07/10/18 Page 3 of 8




 1   Plaintiffs are therefore filing it under seal in compliance with the Stipulated Protective Order
 2   (Dkt. No. 40).
 3          6.        Attached hereto as Exhibit 6 is a true and correct copy of an e-mail produced by
 4   Quality Merchant Services under the Bates Nos. QMS008063-QMS008064, which corresponds
 5   to Brian Alimento Depo. Tr., Ex. 9. This exhibit has been designated “Confidential.” Plaintiffs
 6   are therefore filing it under seal in compliance with the Stipulated Protective Order (Dkt. No.
 7   40).
 8          7.        Attached hereto as Exhibit 7 is a true and correct copy of Quality Merchant
 9   Services’ Supplemental Interrogatory Response dated May 16, 2018.
10          8.        Attached hereto as Exhibit 8 is a true and correct copy of an e-mail produced by
11   Total Merchant Services under the Bates Nos. TMS000245-TMS000246, which corresponds to
12   Brian Alimento Depo. Tr., Ex. 2. This exhibit has been designated “Confidential.” Plaintiffs are
13   therefore filing it under seal in compliance with the Stipulated Protective Order (Dkt. No. 40).
14          9.        Attached hereto as Exhibit 9 is a true and correct copy of an e-mail produced by
15   Total Merchant Services under the Bates No. TMS000522. This exhibit has been designated
16   “Confidential.” Plaintiffs are therefore filing it under seal in compliance with the Stipulated
17   Protective Order (Dkt. No. 40).
18          10.       Attached hereto as Exhibit 10 is a true and correct copy of an e-mail produced by
19   Quality Merchant Services under the Bates Nos. QMS000173-QMS000174. This exhibit has
20   been designated “Confidential.” Plaintiffs are therefore filing it under seal in compliance with the
21   Stipulated Protective Order (Dkt. No. 40).
22          11.       Attached hereto as Exhibit 11 is a true and correct copy of an e-mail produced by
23   Quality Merchant Services under the Bates Nos. QMS000176-QMS000177, which corresponds
24   to Brian Alimento Depo. Tr., Ex. 11. This exhibit has been designated “Confidential.” Plaintiffs
25   are therefore filing it under seal in compliance with the Stipulated Protective Order (Dkt. No.
26   40).
27
28
                                                 -3-
                   DECL. ANTHONY I. PARONICH SUPP. PL.’S MOT. CLASS CERTIFICATION
                   Naiman v. Total Merchant Servs., Inc., Case No. 4:17-cv-03806-CW
                Case 4:17-cv-03806-CW Document 82-4 Filed 07/10/18 Page 4 of 8




 1          12.     Attached hereto as Exhibit 12 is a true and correct copy of an e-mail produced by
 2   Total Merchant Services under the Bates No. TMS000204. This exhibit has been designated
 3   “Confidential.” Plaintiffs are therefore filing it under seal in compliance with the Stipulated
 4   Protective Order (Dkt. No. 40).
 5          13.     Attached hereto as Exhibit 13 is a true and correct copy of an e-mail produced by
 6   Total Merchant Services under the Bates No. TMS000214. This exhibit has been designated
 7   “Confidential.” Plaintiffs are therefore filing it under seal in compliance with the Stipulated
 8   Protective Order (Dkt. No. 40).
 9          14.     Attached hereto as Exhibit 14 is a true and correct copy of the expert report of
10   Anya Verkhovskaya, without exhibits. The calling records produced by Quality Merchant and
11   therefore analyzed by Ms. Verkhovskaya end on February 12, 2018.
12          15.     Attached hereto as Exhibit 15 is a true and correct copy of Quality Merchant
13   Services’ Interrogatory Responses dated February 19, 2018.
14          16.     Attached hereto as Exhibit 16 is a true and correct copy of the deposition of Brian
15   Alimento. Defendants have designated portions of the deposition “Confidential.” Plaintiffs are
16   therefore filing this exhibit under seal in compliance with the Stipulated Protective Order (Dkt.
17   No. 40).
18          17.     Attached hereto as Exhibit 17 is a true and correct copy of the deposition of
19   Michael Alimento. Defendants have designated portions of the deposition “Confidential.”
20   Plaintiffs are therefore filing this exhibit under seal in compliance with the Stipulated Protective
21   Order (Dkt. No. 40).
22          18.     Attached hereto as Exhibit 18 is a true and correct copy of a document produced
23   by Quality Merchant Services under the Bates Nos. QMS000702-QMS000722. This exhibit has
24   been designated “Confidential.” Plaintiffs are therefore filing it under seal in compliance with the
25   Stipulated Protective Order (Dkt. No. 40).
26
27
28
                                                 -4-
                   DECL. ANTHONY I. PARONICH SUPP. PL.’S MOT. CLASS CERTIFICATION
                   Naiman v. Total Merchant Servs., Inc., Case No. 4:17-cv-03806-CW
                 Case 4:17-cv-03806-CW Document 82-4 Filed 07/10/18 Page 5 of 8




 1                                  Broderick & Paronich’s Experience
 2             19.    I have extensive experience in the prosecution of class actions on behalf of
 3   consumers, particularly claims under the Telephone Consumer Protection Act, 47 U.S.C. §227.
 4             20.    I am a 2010 graduate of Suffolk Law School. In 2010, I was admitted to the Bar
 5   in Massachusetts. Since then, I have been admitted to practice before the Federal District Court
 6   for the District of Massachusetts, the District of Colorado, the Eastern District of Michigan and
 7   the Western District of Wisconsin. From time to time, I have appeared in other State and Federal
 8   District Courts pro hac vice. I am in good standing in every court to which I am admitted to
 9   practice.
10             21.    Plaintiff’s counsel have devoted a significant amount of time to investigating the
11   potential claims and will continue to commit the resources necessary to represent the class.
12             22.    A sampling of other class actions in which I have represented classes of
13   consumers under the Telephone Consumer Protection Act and been appointed class counsel
14   follows:
15      i.            Brey Corp t/a Hobby Works v. Life Time Pavers, Inc., Circuit Court for
16                    Montgomery County (Maryland), Civil Action No. 349410-V, TCPA class
17                    settlement of $1,575,000 granted final approval in March of 2012.
18      ii.           Collins, et al v. ACS, Inc. et al, USDC, D. Mass., Civil Action No. 10-CV-11912,
19                    TCPA class settlement $1,875,000 granted final approval on September 25, 2012.
20      iii.          Desai and Charvat v. ADT Security Services, Inc., USDC, ND. Ill., Civil Action
21                    No. 11-CV-1925, TCPA class settlement of $15,000,000 granted final approval
22                    on June 21, 2013.
23      iv.           Kensington Physical Therapy, Inc. v. Jackson Therapy Partners, LLC, USDC, D.
24                    MD, Civil Action No. 11-CV-02467, TCPA class settlement of $4,500,000
25                    granted final approval on February 12, 2015.
26      v.            Jay Clogg Realty Group, Inc. v. Burger King Corporation, USDC, D. MD., Civil
27                    Action No. 13-cv-00662, TCPA class settlement of $8,500,000 granted final
28
                                                   -5-
                     DECL. ANTHONY I. PARONICH SUPP. PL.’S MOT. CLASS CERTIFICATION
                     Naiman v. Total Merchant Servs., Inc., Case No. 4:17-cv-03806-CW
             Case 4:17-cv-03806-CW Document 82-4 Filed 07/10/18 Page 6 of 8




 1               approval on April 15, 2015.
 2   vi.         Charvat v. AEP Energy, Inc., USDC, ND. Ill., 1:14-cv-03121, TCPA class
 3               settlement of $6,000,000 granted final approval on September 28, 2015.
 4   vii.        Mey v. Interstate National Dealer Services, Inc., USDC, ND. Ga., 1:14-cv-01846-
 5               ELR, TCPA class settlement of $4,200,000 granted final approval on June 8,
 6               2016.
 7   viii.       Philip Charvat and Ken Johansen v. National Guardian Life Insurance Company,
 8               USDC, WD. Wi., 15-cv-43-JDP, TCPA class settlement for $1,500,000 granted
 9               final approval on August 4, 2016.
10   ix.         Bull v. US Coachways, Inc., USDC, ND. Ill., 1:14-cv-05789, TCPA class
11               settlement finally approved on November 11, 2016 with an agreement for
12               judgment in the amount of $49,932,375 and an assignment of rights against
13               defendant’s insurance carrier.
14   x.          Smith v. State Farm Mut. Auto. Ins. Co. , et. al., USDC, ND. Ill., 1:13-cv-02018,
15               TCPA class settlement of $7,000,000.00 granted final approval on December 8,
16               2016.
17   xi.         Mey v. Frontier Communications Corporation, USDC, D. Ct., 3:13-cv-1191-
18               MPS, a TCPA class settlement of $11,000,000 granted preliminary approval on
19               January 26, 2017.
20   xii.        Biringer v. First Family Insurance, Inc., USDC, ND. Fla., USDC, 4:14-cv-00566-
21               RH-CAS, a TCPA class settlement of $2,900,000 granted final approval on April
22               24, 2017.
23   xiii.       Abramson v. Alpha Gas and Electric, LLC, USDC, SD. NY., 7:15-cv-05299-
24               KMK, a TCPA class settlement of $1,100,000 granted final approval on May 3,
25               2017.
26   xiv.        Heidarpour v. Central Payment Co., USDC, MD. Ga., 16-cv-01215, a TCPA class
27               settlement of $6,500,000 granted final approval on May 4, 2017.
28
                                              -6-
                DECL. ANTHONY I. PARONICH SUPP. PL.’S MOT. CLASS CERTIFICATION
                Naiman v. Total Merchant Servs., Inc., Case No. 4:17-cv-03806-CW
              Case 4:17-cv-03806-CW Document 82-4 Filed 07/10/18 Page 7 of 8




 1   xv.          Abramson v. CWS Apartment Home, LLC, USDC, WD. Tex., 16-cv-01215, a
 2                TCPA class settlement of $368,000.00 granted final approval on May 19, 2017.
 3   xvi.         Thomas Krakauer v. Dish Network, L.L.C., USDC, MD. NC., Civil Action No.
 4                1:14-CV-333 on September 9, 2015. Following a contested class certification
 5                motion, this case went to trial in January of 2017 returning a verdict of
 6                $20,446,400. On May 22, 2017, this amount was trebled by the Court after
 7                finding that Dish Network’s violations were “willful or knowing”, for a revised
 8                damages award of $61,339,200. (Dkt. No. 338).
 9   xvii.        Charvat v. Elizabeth Valente, et al., USDC, NDIL, 1:12-cv-05746, $12,500,000
10                TCPA settlement granted preliminary approval on July 6, 2017.
11   xviii.       Mey v. Got Warranty, Inc., et. al., USDC, ND. WV., 5:15-cv-00101-JPB-JES, a
12                TCPA class settlement of $650,000 granted final approval on July 26, 2017.
13   xix.         Mey v. Patriot Payment Group, LLC, USDC, ND. WV., 5:15-cv-00027-JPB-JES,
14                TCPA class settlement of $3,700,000 granted final approval on July 26, 2017.
15   xx.          Charvat and Wheeler v. Plymouth Rock Energy, LLC, et al., USDC, EDNY,
16                2:15-cv-04106-JMA-SIL, a TCPA class settlement of $1,675.000 granted
17                preliminary approval on September 15, 2017.
18   xxi.         Abante Rooter and Plumbing, Inc. v. Birch Communications, Inc., USDC,
19                NDGA, 1:15-cv-03262-AT. TCPA class settlement of $12,000,000 granted final
20                approval on December 14, 2017.
21   xxii.        Abante Rooter and Plumbing, Inc. v. New York Life Insurance Company, USDC,
22                SD. NY., 1:16-cv-03588-BCM, a TCPA class settlement of $3,350,000 granted
23                final approval on February 27, 2018.
24   xxiii.       Fulton Dental, LLC v. Bisco, Inc., USDC, NDIL, 1:15-cv-11038. TCPA class
25                settlement for $262,500 granted final approval on March 7, 2018.
26   xxiv.        Toney v. Quality Resources, Inc., Cheryl Mercuris and Sempris LLC, et al.,
27                USDC, ND. Ill., 1:13-cv-00042, TCPA class settlement of $2,150,000 was
28
                                               -7-
                 DECL. ANTHONY I. PARONICH SUPP. PL.’S MOT. CLASS CERTIFICATION
                 Naiman v. Total Merchant Servs., Inc., Case No. 4:17-cv-03806-CW
               Case 4:17-cv-03806-CW Document 82-4 Filed 07/10/18 Page 8 of 8




 1                  granted final approval on December 1, 2016, and a second settlement against the
 2                  remaining defendants for $3,300,000 was granted preliminary approval on May
 3                  30, 2018.
 4      xxv.        In re Monitronics International, Inc., USDC, ND. WV., 1:13-md-02493-JPB-JES,
 5                  a TCPA class settlement of $28,000,0000 granted final approval on June 12,
 6                  2018.
 7          I declare under penalty of perjury under the laws of the United States of America that the
 8   foregoing is true and correct.
 9          EXECUTED in Plymouth, Massachusetts, this 10th day of July, 2018.
10
11
                                                   /s/ Anthony I. Paronich
12                                               Anthony I. Paronich,
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                 -8-
                   DECL. ANTHONY I. PARONICH SUPP. PL.’S MOT. CLASS CERTIFICATION
                   Naiman v. Total Merchant Servs., Inc., Case No. 4:17-cv-03806-CW
